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                       12                               UNITED STATES BANKRUPTCY COURT
                       13                    NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
                       14

                       15 In re                                               Case No. 21-50028-SJL
                       16 EVANDER FRANK KANE,                                 Chapter 7
                       17                    Debtors.                         CENTENNIAL BANK'S MOTION TO
                                                                              DISMISS LIQUIDATION
                       18

                       19                                                     Date:    TBD *
                                                                              Time:    TBD
                       20                                                     Place;   Via Zoom Videoconference
                                                                              Judge:   Hon. Stephen L. Johnson
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                    Case: 21-50028
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                            Doc# 83     Filed: 03/29/21   Entered: 03/29/21 17:43:18   Page 1 of 19
                          1                                                        TABLE OF CONTENTS
                                                                                                                                                                    Page
                          2
                               I.          STATEMENT OF FACTS ................................................................................................... 1
                          3

                          4 II.            JURISDICTION AND STANDING .................................................................................... 3

                          5 III.           LEGAL ANALYSIS ............................................................................................................ 3
                          6
                                    A. Statutory Framework .............................................................................................................. 3
                          7
                                    B. The Debtor Owes Primarily Consumer Debt ......................................................................... 3
                          8
                                    C. Presumption of Abuse under §707(b)(2) ................................................................................ 5
                          9
                       10           D. The Debtor’s Filing Constitutes Abuse Under §707(b)(3)(B) ............................................... 7

                       11              i. Totality of the Circumstances Supports Dismissal .............................................................. 7
                       12
                                    E. The Debtor’s Filing Constitutes Bad Faith Pursuant to §707(b)(3)(A) .................................. 9
                       13

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                       17

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                    Case: 21-50028
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                                   Doc# 83          Filed: 03/29/21               i
                                                                                               Entered: 03/29/21 17:43:18                    Page 2 of 19
                          1                                                     TABLE OF AUTHORITIES

                          2
                               Cases
                          3 Bushkin v. Singer (In re Bushkin),
                               BAP No. CC-15-1285-KiKuF, 2016 WL 4040679, at *7 (B.A.P. 9th Cir. July 22, 2016) .......... 4
                          4

                          5 Calhoun  v. United States Trustee,
                               650 F.3d 338 (4th Cir. 2011) ......................................................................................................... 8
                          6 In re Egebjerg,
                               574 F.3d 1045 (9th Cir. 2009) ....................................................................................................... 7
                          7

                        8 In 387
                             re Kaminski,
                                 B.R. 190 (Bankr.N.D. Ohio 2008) ....................................................................................... 11
                        9 In re Katz,
                             451 B.R. 512 (Bankr. C.D. Cal. 2011) ........................................................................................ 12
                       10

                       11 In 886
                             re Krohn,
                                 F.2d 123 (6th Cir. 1989) ..................................................................................................... 8, 9
                       12 In re Mitchell,
                             357 B.R. 142 (Bankr. C.D. Cal. 2006) .................................................................................... 9, 10
                       13

                       14 In 422
                             re Reed,
                                 B.R. 214 (C.D. Cal. 2009) ...................................................................................................... 8
                       15 In re Scarberry,
                             428 B.R. 403 (Bankr. N.D. Ohio 2009) ........................................................................................ 9
                       16

                       17 In 397
                             re Violanti,
                                 B.R. 852 (Bankr. N.D. Ohio 2008) ............................................................................ 9, 11, 13
                       18 In re Webb,
                             447 B.R. 821 (Bankr. N.D. Ohio 2010) ........................................................................................ 3
                       19

                       20 Leavitt v. Soto (In re Leavitt),
                            171 F.3d 1219 (9th Cir. 1999) ..................................................................................................... 10
                       21 Miller v. Gilliam (In re Miller),
                            BAP No. CC-15-1328-KiTaKu, 2016 WL 5957270 (B.A.P. 9th Cir. Oct. 13, 2016) ................ 10
                       22

                       23 Price v. United States Trustee (In re Price), 353 F.3d 1135 (9th Cir. 2003) ..................................... 9

                       24 Zolg v. Kelly (In re Kelly),
                            841 F.2d 908 (9th Cir. 1988) ..................................................................................................... 3, 8
                       25 Statutes

                       26 11 U.S.C. § 707 ........................................................................................................................ passim
                          28 U.S.C. § 1334 ............................................................................................................................... 3
                       27 28 U.S.C. § 151 ................................................................................................................................. 3
                          28 U.S.C. § 157 ................................................................................................................................. 3
                       28 Bankruptcy Code §101 .................................................................................................................... 12
   COOPER, WHITE
   & COOPER LLP
     ATTORNEYS AT LAW
                    Case: 21-50028
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                                 Doc# 83           Filed: 03/29/21                ii
                                                                                               Entered: 03/29/21 17:43:18                     Page 3 of 19
                          1 Bankruptcy Code §707 ............................................................................................................. passim
                            Federal Rule of Bankruptcy Procedure 1017 .................................................................................... 1
                          2
                            Other Authorities
                          3 Black’s Law Dictionary 166 (10th ed. 2014) .................................................................................... 3

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   & COOPER LLP
     ATTORNEYS AT LAW
                    Case: 21-50028
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                                 Doc# 83         Filed: 03/29/21             iii
                                                                                           Entered: 03/29/21 17:43:18                   Page 4 of 19
                          1         Pursuant to 11 U.S.C. §§ 707(b)(1), (b)(2), and (b)(3), Federal Rule of Bankruptcy Procedure

                          2 1017, and other applicable law, Centennial Bank, an Arkansas state-chartered bank, by and through

                          3 its undersigned counsel of record, hereby moves on the following grounds for an order of this Court

                          4 dismissing the above-captioned chapter 7 bankruptcy case (this “Liquidation”) initiated by Evander

                          5 Frank Kane (the “Debtor”), on January 9, 2021. 1

                          6                                  I.     STATEMENT OF FACTS

                          7         1.      The Debtor filed for relief under chapter 7 of the Bankruptcy Code on January 9,

                          8 2021.

                          9         2.      Just two (2) days prior to the Debtor’s initiation of this Liquidation, Centennial
                       10 initiated loan enforcement litigation as against the Debtor in the United States District Court in

                       11 and for the Southern District of Florida, Fort Lauderdale Division, Case No. 21-cv-60045 (the

                       12 “Centennial Federal Litigation”), pursuant to which Centennial sought, inter alia, bind the San

                       13 Jose Sharks to a judicial determination that the Debtor was obligated under his Security

                       14 Agreement in favor of Centennial to direct monthly payments due under the Player’s Contract to

                       15 Centennial. Thus, Centennial sought to preclude the Debtor from further interfering with

                       16 Centennial’s rights under its Security Agreement.

                       17           3.      The Debtor has disclosed that he is a professionally ice hockey player who has played

                       18 in the National Hockey League for the last eleven (11) years. Under the Debtor’s current Player’s

                       19 Contract with the San Jose Shark, the Debtor has received approximately $20,000,000 in

                       20 compensation over the immediate three (3) preceding the Debtor’s initiation of this Liquidation.

                       21 Moreover, pursuant to the terms of the Player’s Contract, the Debtor is due to receive approximately

                       22 $29,000,000 over the course of the next four (4) seasons. Despite this fact, the Debtor has listed his

                       23 monthly income as being solely derived from a podcast show that the Debtor admits has never aired

                       24

                       25 * As soon as the transcripts to Mr. Kane's Rule 2004 Examination are ready, Centennial will submit
                          a supporting declaration and a Notice of Hearing on this matter, and possibly on a time shortened
                       26 basis.

                       27      1
                            For purposes of brevity, Centennial utilizes those terms that are more fully defined in its proof of
                       28 claim [POC-5] filed on March 18, 2021.
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   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                          Doc# 83      Filed: 03/29/21        1
                                                                           Entered: 03/29/21 17:43:18        Page 5 of 19
                          1 a show and is no longer viable. 2

                          2          4.     Having grossly undervalued his current monthly income, the Debtor proceeds to

                          3 disclose the extravagant lifestyle he enjoys as a professional athlete, encompassing (i) the leasing of

                          4 two (2) Mercedes G-wagons, (ii) ownership of three (3) multimillion dollar residences for himself

                          5 and his immediate family members, (iii) multimillion gambling losses, (iv) $8,000 in monthly food

                          6 and housekeeping supplies, (v) $12,000 in childcare expenses, and (vi) $15,000 in monthly transfers

                          7 to his mother, father, grandmother, and uncles. In total, the Debtor estimates his monthly expenses

                          8 to $93,214.46 – or $91,131.13 greater than the fictitious $2,083.33 the Debtor never planned to

                          9 receive from his failed podcast arrangement.
                       10            5.     Although the Debtor has amended his Schedules multiple times in a short period of
                       11 time – including the Debtor’s expenses to remove his mother, father, grandmother, and two (2)

                       12 uncles as dependents – the Debtor has never amended his Schedule I regarding his income, despite

                       13 having played in every game that the San Jose Sharks have competed in this season, leading his

                       14 team in points earned.

                       15            6.     Although the Debtor’s Schedules indicate that the Debtor has substantial liabilities –
                       16 liabilities that the Debtor can only explain at the most basic level – what the Schedules do not show

                       17 is the Debtor’s substantial income. When compared to each other, it is quite clear that the Debtor

                       18 is able to substantially pay his debts in their entirety. However, the Debtor wishes to utilize the

                       19 bankruptcy process not to receive a “fresh start,” but to gain a “head start” over his poor financial

                       20 decisions, seeking to only selectively assume those liabilities that actually benefit him – i.e. the

                       21 several mortgages on the three (3) residential properties and the two (2) leases on his luxury vehicles

                       22 – and asking this Court to discharge the rest of the liabilities that he willingly entered into and simply

                       23 chooses not to be accountable for. But choosing to waste $1,500,000 in gambling debts, maintain

                       24 three (3) residences, and drive two (2) luxury vehicles in lieu of servicing his debts, is not the type

                       25 of behavior the bankruptcy process was intended to protect.

                       26

                       27      2
                            This income further ignores the Debtor’s $1,250,000 federal tax return that he anticipates
                       28 receiving.
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   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                           Doc# 83      Filed: 03/29/21       2
                                                                           Entered: 03/29/21 17:43:18         Page 6 of 19
                          1         7.      Accordingly, and as more fully described herein, the Debtor’s demonstrated abuse

                          2 of the bankruptcy process and bad faith filing requires that this Court should dismiss the Debtor’s

                          3 case under 11 U.S.C. §§707(b)(2), (b)(3)(A), or (b)(3)(B).

                          4                            II.     JURISDICTION AND STANDING

                          5         This Court has jurisdiction of this matter under 28 U.S.C. § 1334(a) and (b), 28 U.S.C. §

                          6 157(a) and (b)(1) and 28 U.S.C. § 151. This is a core proceeding under 28 U.S.C. § 157(b)(2)(A)

                          7 and (B). This motion is filed pursuant to 11 U.S.C. §§707(b)(1), (b)(2), and (b)(3).

                          8                                    III.    LEGAL ANALYSIS

                          9 A.      Statutory Framework
                       10           “The principal purpose of the Bankruptcy Code is to grant a fresh start to the honest but

                       11 unfortunate debtor.” Marrama v. Citizen Bank of Mass, 549 U.S. 365, 367 (2007). A discharge

                       12 allows a debtor to start a new financial life. A debtor engaged in bad faith filing of the petition will

                       13 not be granted discharge. A bad faith filing is a voluntary petition “that is inconsistent with the

                       14 purposes of the Bankruptcy Code or an abuse of the bankruptcy system.” Black’s Law Dictionary

                       15 166 (10th ed. 2014); In re Webb, 447 B.R. 821, 824 (Bankr. N.D. Ohio 2010).

                       16           In line with this longstanding principle, Bankruptcy Code §707(b)(1) provides that, after

                       17 notice and a hearing, this Court may dismiss a case filed by an individual whose debts are primarily

                       18 consumer debts if it finds that granting relief would be an abuse of the provisions of chapter 7. 11

                       19 U.S.C. § 707(b)(1). Bankruptcy Code §707(b)(3) provides that, in considering whether granting

                       20 relief would be an abuse, in a case in which the presumption under Bankruptcy Code

                       21 §707(b)(2)(A)(i) does not arise, this Court shall consider whether the Debtor filed the Petition in

                       22 bad faith or whether the totality of the circumstances of the Debtor’s financial situation demonstrates

                       23 abuse.

                       24 B.        The Debtor Owes Primarily Consumer Debt

                       25           “Consumer debt” is defined as a “debt incurred by an individual primarily for a personal,

                       26 family, or household purpose.” 11 U.S.C. § 101(8). Conversely, the Ninth Circuit has held that

                       27 “[d]ebt incurred for business ventures or other profit-seeking activities is plainly not consumer

                       28 debt.” Zolg v. Kelly (In re Kelly), 841 F.2d 908, 913 (9th Cir. 1988). Courts determine the debtor’s
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                    Case: 21-50028
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                           Doc# 83     Filed: 03/29/21       3
                                                                          Entered: 03/29/21 17:43:18        Page 7 of 19
                          1 purpose as of the time the debt was incurred. See Bushkin v. Singer (In re Bushkin), BAP No. CC-

                          2 15-1285-KiKuF, 2016 WL 4040679, at *7 (B.A.P. 9th Cir. July 22, 2016). The Ninth Circuit further

                          3 interprets “primarily” to mean that the overall ratio of consumer to non-consumer debt is greater

                          4 than fifty (50%) percent. Kelly, 841 F.2d at 913. Although the Debtor checked the box on his

                          5 Petition indicating that his debts are primarily “business debts,” a review of the Schedules, together

                          6 with the Debtor’s own testimony at the 341 Meeting and 2004 Examination, conclusively confirms

                          7 that such a statement is false.

                          8          Nothing within the Schedules filed by the Debtor indicates that the Debtor has been engaged

                          9 in any meaningful business other than the playing of professional ice hockey. While the Debtor
                       10 states that he, along with his spouse, is a one hundred (100%) percent owner of Lions Properties

                       11 LLC, the Debtor further indicates that such business “has no assets.” [Doc. 1 at ¶14]. The only other

                       12 business entity the Debtor identifies as having any membership interest in is Ascher Capital II and

                       13 III LLC; however, the Debtor states that he only borrowed $750,000 for such investment (the “Loan

                       14 Shark Debt”). Id. The Debtor’s Schedules confirm that the Debtor does not own any bonds,

                       15 investment accounts with any brokerage firms, money market accounts, or stock in any publicly

                       16 traded company. [Doc. 1 at ¶13]. The Debtor does not list any “business-related property” that he

                       17 either owns or has any legal or equitable interest in. [Doc. 1 at ¶16]. The Debtor does not receive

                       18 any “[n]et income from rental property and from operating a business, profession, or farm.” [Doc.

                       19 1 at ¶40]. Additionally, within the last four (4) years preceding the Debtor’s initiation of this

                       20 Liquidation, the Debtor states within his Schedules that he has not owned a business or have any

                       21 connection to a business, including not being a (i) sole proprietor or self-employed in a trade,

                       22 profession, or other activity, either full time or part time, (ii) member of a limited liability company

                       23 (LLC) or limited liability partnership (LLP), (iii) partner in a partnership, (iv) officer, director, or

                       24 managing executive of a corporation, or (v) owner of at least five (5%) percent of the voting or

                       25 equity securities of a corporation. [Doc. 1 at ¶53]. Although the Debtor amended his statement of

                       26 financial affairs (“Amended Form 107”) on February 17, 2021, the Debtor only identified three (3)

                       27 business entitles he had some involvement in, all of which are either now dissolved or not operating

                       28 as they have no assets or purpose. [Doc. 29 at ¶9].
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   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                           Doc# 83     Filed: 03/29/21        4
                                                                           Entered: 03/29/21 17:43:18       Page 8 of 19
                          1          The Debtor does not dispute that he has taken out sizable loans with Centennial (listed at

                          2 $8,360,000), Zions Bancorporation (listed at $4,250,000), and Professional Bank (listed at

                          3 $1,354,000), which collectively amount to $13,964,000 (the “Non-Residential Bank Debt”)– or

                          4 forty-nine and a half (49.5%) percent of the Debtor’s total claimed liabilities. When questioned

                          5 about the purpose of the Non-Residential Bank Debt, the Debtor confirmed that he utilized it to pay

                          6 off prior high-interest loans (the “Prior High-Interest Loans”) that he had taken out in years prior.

                          7 However, when questioned about the purpose of the Prior High-Interest Loans, the Debtor was

                          8 unable to answer basic questions regarding the amount of said loans, the date in which the Prior

                          9 High-Interest Loans were incurred, the financial institutions who lent the Prior High-Interest Loans,
                       10 or what the funds from the High-Interest Loans were used for. What the Debtor was able to confirm,

                       11 however, was that none of the funds received by the Debtor from the Non-Residential Bank Debt

                       12 was used to (i) purchase any real property, (ii) purchase any operating business, (iii) fund any

                       13 operating business, or (iv) invest in any other business enterprise or investment opportunity.

                       14 Accordingly, it is quite clear that the Non-Residential Bank Debt was not incurred for purposes of

                       15 “business ventures or other profit-seeking activities.” Instead, it would see that the only potential

                       16 non-consumer debt incurred by the Debtor is the Loan Shark Debt the Debtor took out less than a

                       17 month after initiating this Liquidation.

                       18 C.         Presumption of Abuse under §707(b)(2)

                       19            Because the Debtor is an individual with primarily consumer debts, he was required to file

                       20 a Chapter 7 Means-Test Calculation using approved Official Form 122A-2 (the “Means Test”). The

                       21 Debtor has failed to do because he falsely and erroneously stated on his Schedules that his debt was

                       22 primarily nonconsumer in nature. However, the function of the Means Test is to determine the

                       23 Debtor’s disposable income and to estimate the ability of debtors to repay their debts. When a

                       24 debtor fails the Means Test, and thus has the ability to repay a minimum amount of his or her debts

                       25 over a period of sixty (60) months, a presumption of abuse arises under Bankruptcy Code

                       26 §707(b)(2), resulting in the dismissal of his or her bankruptcy filing. 11 U.S.C. §707(b)(2).

                       27 When one properly computes the Means Test, it is clear that the Debtor’s case is presumed to be an

                       28 abuse of the chapter 7 process. The Debtor’s annualized income greatly exceeds the applicable
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   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                           Doc# 83     Filed: 03/29/21       5
                                                                          Entered: 03/29/21 17:43:18        Page 9 of 19
                          1 median family income, and he has enough “disposable income” to pay at least $13,650 over sixty

                          2 (60) months. See 11 U.S.C. §707(b)(2). To be sure, pursuant to Official Form 122A-1 and

                          3 Bankruptcy Code §101(10A), in calculating the Debtor’s “current monthly income” (“CMI”) the

                          4 Debtor is to, inter alia, compute the average monthly income that he received from all sources and

                          5 that was derived during the six (6) full months before the Debtor’s initiation of this Liquidation on

                          6 January 9, 2021 – or, from July 1, 2020 through December 31, 2020. Although not accounted for

                          7 on the Schedules, the evidence shows that the Debtor received $3,000,000 on July 1, 2020 [or within

                          8 the six (6) month period ending on the last day of the calendar month immediately preceding January

                          9 9, 2021] as part of the Debtor’s signing bonus under the Player’s Contract. Accordingly, the
                       10 Debtor’s true CMI pursuant to Bankruptcy Code §101(10A) is greater than $500,000. See In re

                       11 Katz, 451 B.R. 512 (Bankr. C.D. Cal. 2011) (a chapter 7 debtor’s currently monthly income includes

                       12 any bonuses or other compensation that may have been earned at an earlier date so long as if it was

                       13 received during the six-month current monthly income period).

                       14            The Debtor has claimed a number of expenses on his Schedule J that would need to be

                       15 adjusted if the Debtor properly completed the Means Test as they are far above the IRS National

                       16 Standards. 3 However, this Court need not even delve into what purported monthly expense of the

                       17 Debtor are appropriate, as even if this Court were to accept the full $93,214.46 as listed on Schedule

                       18 J, would net the Debtor approximately $406,785.34 – or the Debtor’s monthly disposable income.

                       19 See 11 U.S.C. §707(b)(2). Multiplying the Debtor’s calculated monthly disposable income by sixty

                       20 (60) months, computes to $16,410,812.40 of potential loan payments over a five (5) year plan (the

                       21 “Projected Monthly Income”). Not only is the Debtor’s Projected Monthly Income larger than the

                       22 statutory allotted $13,650, but it is even greater than twenty-five (25%) of the Debtor’s listed

                       23

                       24      3
                            For example, the Debtor lists $8,000 a month as an expense for food and housekeeping supplies
                       25 for a household that appears to include, at most, the Debtor, his wife, and his six (6) month year old
                          daughter (note, while the Debtor stated that his daughter, sister, mother, father, grandmother, and
                       26 two uncles live with him as dependents in Part 1 of Schedule J, in Part 2 of the same Schedule J the
                          Debtor states that his mother, father, grandmother, and uncles do not live with him.). The Debtor
                       27
                          further list an expense of $12,000 a month for childcare and children’s education costs for a single
                       28 sixth (6) month year-old.
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                      Case: 21-50028
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                            Doc# 83                       6
                                                        Filed: 03/29/21 Entered: 03/29/21 17:43:18           Page 10 of
                                                                      19
                          1 nonpriority unsecured debt. 4 There is a clear and present presumption of abuse in the Debtor’s

                          2 Liquidation.

                          3 D.           The Debtor’s Filing Constitutes Abuse Under §707(b)(3)(B)

                          4              Alternatively, to the extent that this Court is not inclined to find that the presumption of

                          5 abuse arises under Bankruptcy Code §707(b)(2), this Liquidation should be dismissed as an abuse

                          6 under Bankruptcy Code §707(b)(3)(B), based upon the totality of the circumstances surrounding the

                          7 Debtor’s financial situation, because the Debtor has the ability to repay a sufficient amount, if not

                          8 all, of the scheduled unsecured debt.

                          9 In pertinent part, Bankruptcy Code §707(b)(3) provides:
                       10                       In considering under paragraph (1) whether the granting of relief would be
                                                an abuse of the provisions of this chapter in a case in which the presumption
                       11                       in subparagraph (A)(1) of such paragraph does not arise or is rebutted, the
                                                court shall consider –
                       12
                                                        (A) whether the debtor filed the petition in bad faith; or
                       13
                                                        (B) the totality of the circumstances … of the debtor’s financial
                       14                               situation demonstrates abuse.
                       15                The Ninth Circuit determined that under Bankruptcy Code §707(b)(3)(B), “[e]ven if a

                       16 debtor’s financial situation does not create a presumption of abuse (or if the presumption is

                       17 rebutted), the bankruptcy court may still dismiss the petition if the debtor filed in bad faith or if the

                       18 ‘totality of the circumstances’ demonstrates ‘abuse’ of Chapter 7.” In re Egebjerg, 574 F.3d 1045,

                       19 1048 (9th Cir. 2009). Therefore, even if this Court finds that the presumption of abuse does not

                       20 arise under Bankruptcy Code §707(b)(2), this Court should find that the totality of the circumstances

                       21 warrants dismissal of this Liquidation under Bankruptcy Code §707(b)(3)(B).

                       22                Cases such as the present chapter 7 Liquidation initiated by the Debtor demonstrate the type

                       23 of abuse and bad faith that Bankruptcy Code §707(b)(1) was intended to prevent.

                       24              i.   Totality of the Circumstances Supports Dismissal

                       25                The Debtor’s ability to repay unsecured debts, standing alone, is sufficient to find an abuse

                       26 under Bankruptcy Code §707(b)(3)(B) necessitating dismissal of this Liquidation. See e.g. In re

                       27
                               4
                       28          $4,396,525 multiplied by twenty-five (25%) percent, equates to $1,099,131.25.
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     ATTORNEYS AT LAW
                      Case: 21-50028
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                                Doc# 83                       7
                                                            Filed: 03/29/21 Entered: 03/29/21 17:43:18               Page 11 of
                                                                          19
                          1 Reed, 422 B.R. 214 (C.D. Cal. 2009) (holding that the debtor’s ability to repay is, by itself, sufficient

                          2 to find abuse under the totality of the circumstances test under §707(b)(3)); Kelly, 841 F.2d at 914

                          3 (“The rule adopted by the overwhelming majority of the courts considering the issue appears to be

                          4 that a debtor’s ability to pay his debts will, standing alone, justify a section 707(b) dismissal”);

                          5 Calhoun v. United States Trustee, 650 F.3d 338 (4th Cir. 2011) (dismissing the debtor’s case under

                          6 §707(b)(3) because they were able to pay their creditors based on the totality of the circumstances

                          7 of their financial situation); In re Krohn, 886 F.2d 123 (6th Cir. 1989) (stating that “ability to pay”

                          8 “alone may be sufficient to warrant dismissal” for substantial abuse).

                          9           The Debtor has enjoyed and continues to enjoy a stable income that is substantially more
                       10 than the applicable median family income in California. The Debtor has enjoyed a career as a

                       11 professional ice hockey player over the course of the last eleven (11) years that appears to be

                       12 extremely rewarding to him in terms of compensation. [Doc. 1 at ¶39]. Over the last three (3) years

                       13 immediately preceding the Debtor’s initiation of this Liquidation, the Debtor has received

                       14 approximately $20,000,000 in wages under his Player’s Contract with the Sharks. [Doc. 29 at ¶2].

                       15 And as set forth above, the Debtor is expected to receive approximately $3,000,000 under his

                       16 Player’s Contract for the current 2020-21 season. 5 If the Debtor’s $3,000,000 2020-21 season salary

                       17 is spread over a twelve (12) month period, the Debtor’s monthly income is $250,0006, plus the

                       18 additional $1,200,000 federal tax return that the Debtor expects to receive this year. [Doc. 29 at ¶2].

                       19 Even if this Court were to accept the Debtor’s excessive monthly expenses of $93,214.46 as reported

                       20

                       21      5
                            The Player’s Contract further provides that the Debtor is to receive $7,000,000, $5,000,000,
                          $6,000,000, and $4,000,000 in regular compensation for the 2021-22, 2022-23, 2023-24, and 2024-
                       22 25 seasons respectively, as well as an additional payment of $4,000,000 as part of his signing bonus

                       23 to be paid out in two (2) equal $2,000,000 installments on July 1, 2022 and July 1, 2024.
                               6
                       24        Although the Debtor has intimated that his monthly salary is significantly lower in light of the
                               current Collective Bargaining Agreement (“CBA”) between the NHL owners and the NHL Player’s
                       25      Association, which calls for twenty (20%) percent of the Debtor’s salary to be escrowed and
                               withheld from paychecks and an additional ten (10%) percent deferred to be paid out in following
                       26      years. However, the percentage of salary to be escrowed is due to reduce season after season, and
                               the Debtor has the ability to obtain said escrowed funds under certain circumstances. Additionally,
                       27
                               the Debtor will indeed receive the full amount of the deferred funds, and such deferral percentage
                       28      does not continue on past the current 2020-21 season.
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                      Case: 21-50028
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                             Doc# 83                       8
                                                         Filed: 03/29/21 Entered: 03/29/21 17:43:18             Page 12 of
                                                                       19
                          1 on the Schedules, which this Court should not, the Debtor’s disposable monthly income is

                          2 $158,8683.87. When the foregoing sum is again multiplied by sixty (60), the Debtor would be able

                          3 to make a debt payment equal to $9,532,132.20 over a five-year period. Of course, this number

                          4 would drastically increase in light of the fact that the Debtor is due to receive significant multi-

                          5 million dollar increases to his yearly salary in 2022, 2023, 2024, and 2025, along with two (2)

                          6 signing bonus payments totaling an additional $4,000,000.

                          7          Based upon the foregoing, the record reflect that the Debtor is not a “needy” debtor in the

                          8 sense that his financial predicament warrants a discharge of his debts, instead, the Debtor is merely

                          9 seeking an advantage over his creditors. The Debtor’s clear want for need tethered with the lack of
                       10 honesty that preeminates the Petition requires dismissal of this Liquidation as an abuse of the entire

                       11 Bankruptcy Code and statutory framework – the Debtor’s monthly expenditures, coupled with his

                       12 exorbitant gambling losses, are more than a luxury than a necessity for the Debtor. See In re

                       13 Scarberry, 428 B.R. 403, 427 (Bankr. N.D. Ohio 2009) (citing In re Krohn, 886 F.2d 123 (6th Cir.

                       14 1989)); In re Violanti, 397 B.R. 852 (Bankr. N.D. Ohio 2008).

                       15 E.         The Debtor’s Filing Constitutes Bad Faith Pursuant to §707(b)(3)(A)

                       16            A third basis for dismissal of this Liquidation is further present, and that is the Debtor’s bad

                       17 faith filing of the Petition under Bankruptcy Code §707(b)(3)(A). In addition to dismissing this

                       18 Liquidation under the totality of the circumstances, Bankruptcy Code §707(b)(3)(A) provides an

                       19 independent basis for dismissal that is separate and not dependent on this Court’s review of the

                       20 totality of the circumstances.

                       21            Although “bad faith” is not specifically defined in the Bankruptcy Code, the courts have

                       22 begun to develop a standard for determining a finding of “bad faith” borrowing from the Ninth

                       23 Circuit’s pre-BAPCPA “substantial abuse” test and from chapter 11 and 13 bad faith cases. In re

                       24 Mitchell, 357 B.R. 142 (Bankr. C.D. Cal. 2006) (citing Price v. United States Trustee (In re Price),

                       25 353 F.3d 1135, 1139-40 (9th Cir. 2003) (using a six factor test to determine “substantial abuse”

                       26 under pre-BAPCPA §707(b))). The Mitchell court set fort the following nonexclusive factors to be

                       27 considered in determining whether to dismiss a chapter 7 case for bad faith under Bankruptcy Code

                       28 §707(b)(3)(A):
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   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                            Doc# 83                        9
                                                         Filed: 03/29/21 Entered: 03/29/21 17:43:18             Page 13 of
                                                                       19
                          1         1. Whether debtor has a likelihood of sufficient future income to fund a
                                       chapter 11, 12 or 13 plan which would pay a substantial portion of the
                          2            unsecured claims;
                          3
                                    2. Whether debtor’s petition was filed as a consequence of illness, disability,
                          4            unemployment, or other calamity;

                          5         3. Whether debtor obtained cash advances and consumer goods on credit
                                       exceeding his or her ability to repay;
                          6
                                    4. Whether debtor’s proposed family budget is excessive or extravagant;
                          7

                          8         5. Whether debtor’s statement of income and expenses misrepresents
                                       debtor’s financial condition;
                          9
                                    6. Whether debtor made eve of bankruptcy purchases;
                       10

                       11           7. Whether debtor has a history of bankruptcy petition filings and
                                       dismissals;
                       12
                                    8. Whether debtor has invoked the automatic stay for improper purposes,
                       13              such as to delay or defeat state court litigation;
                                    9. Whether egregious behavior is present.
                       14

                       15           Id. at 154-55; see also Miller v. Gilliam (In re Miller), BAP No. CC-15-1328-KiTaKu, 2016
                       16 WL 5957270 (B.A.P. 9th Cir. Oct. 13, 2016). In addition to the nine-part test as set forth in Mitchell,

                       17 the Ninth Circuit in Leavitt “indicated that whether the debtor misrepresented facts in his or her

                       18 bankruptcy filings, unfairly manipulated the Bankruptcy Code, or otherwise filed the petition in an

                       19 inequitable manner should also be considered.” Miller, 2016 WL 5957270 at *7 (citing Leavitt v.

                       20 Soto (In re Leavitt), 171 F.3d 1219, 1224 (9th Cir. 1999)). Despite the factors used, however, no

                       21 single factor is considered dispositive. Id.

                       22           This Court should find, after analyzing the facts of this Liquidation with the Mitchell and
                       23 Leavitt factors identified above, that dismissal under Bankruptcy Code §707(b)(3)(A) is warranted.

                       24 The Debtor’s intention in filing a bankruptcy petitions is clearly inconsistent with the chapter 7 goals

                       25 of providing a “fresh start” to debtors and maximizing the return to creditors. Mitchell, 357 B.R. at

                       26 154-155.

                       27      i.   “Whether the debtor has a likelihood of sufficient future income to fund a Chapter 11, 12,
                       28           or 13 plan which would pay a substantial portion of unsecured claims”: The Debtor has
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   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                           Doc# 83                      10
                                                       Filed: 03/29/21 Entered: 03/29/21 17:43:18             Page 14 of
                                                                     19
                          1               seriously misrepresented his income and, thus, his ability to pay debt by omitting a

                          2               significant amount of income from his Player’s Contract.

                          3        ii.    “Whether the debtor’s petition was filed as a consequence of illness, disability,

                          4               unemployment or some other calamity”: There is no evidence that any negative life event

                          5               such as serious illness or death, catastrophic loss, or termination of employment is the cause

                          6               of the Debtor’s purported financial problems. Instead, it appears that the Debtor’s financial

                          7               difficulties were precipitated, at least in large part, by his desire to participate in excessive

                          8               gambling and sports activity betting, as well as the purchase of extravagant properties and

                          9               vehicles beyond his ability to pay. With the Debtor’s stated intention to reaffirm on his
                       10                 obligations on each of the three (3) residential properties listed – despite the Debtor only
                       11                 occupying one – as well as the Debtor’s current vehicle obligations, the Debtor is clearly
                       12                 seeking to utilize the bankruptcy process to retain property to the direct detriment of his
                       13                 other creditors. “The bankruptcy process, however, was never ‘meant to be used as a means
                       14                 by which a debtor can perpetrate bad financial decisions.” In re Violanti, 397 B.R. at 859
                       15                 (quoting In re Kaminski, 387 B.R. 190, 196 (Bankr.N.D. Ohio 2008)).

                       16          iii.   “Whether the schedules suggest the debtor obtained cash advancements and consumer good

                       17                 on credit exceeding his or her ability to repay them”: The Debtor’s Schedules reflect that

                       18                 the Debtor owes approximately $88,593 in credit card charges, [Doc. 18 at ¶11], despite

                       19                 paying $240,591 of credit card charges in the three (3) months leading up to the Debtor’s

                       20                 initiation of this Liquidation. [Doc. 29 at ¶3].

                       21          iv.    “Whether the debtor’s proposed family budget is excessive or extravagant”: The Debtor’s

                       22                 proposed family budget is clearly excessive. The Debtor’s Schedule I and J list an average

                       23                 monthly expense of $93,214.46 for what appears to be a household comprising of two (2)

                       24                 adults and one (1) six-month year old. [Doc. 1 at ¶¶43 and 44] 7. By the Debtor’s own

                       25

                       26      7
                            Although the Debtor checks the box for “Yes” when identifying those purported dependents who
                          live with the Debtor in Part 1 of Schedule J, the Debtor in Part 2 of the same schedule later confirms
                       27
                          that five (5) of the seven (7) purported dependents in fact do not live with him, including his mother,
                       28 father, grandmother, and two (2) uncles.
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   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                                 Doc# 83                       11
                                                              Filed: 03/29/21 Entered: 03/29/21 17:43:18              Page 15 of
                                                                            19
                          1              admission, his monthly net income is negative $91,131.13. [Doc. 1 at ¶44] 8. This means

                          2              that even if the Debtor were to receive a chapter 7 discharge of his debts, one month

                          3              thereafter, he would be almost $91,000 in debt, and one year thereafter, he would be almost

                          4              $1,100,000 into debt. Therefore, the Debtor’s proposed budget is excessive. 9

                          5        v.    “Whether the debtor’s statement of income and expenses is misrepresentative of the debtor’s

                          6              financial condition”: The Debtor’s statement of income and expenses is misrepresentative

                          7              of the Debtor’s financial condition. The Debtor has substantially under-reported his monthly

                          8              gross income on his Schedule I. The instructions to Schedule I require the Debtor to “give

                          9              details about the monthly income [he] currently expects to receive [] [and to] show all totals
                       10                as monthly payments, even if income is not received in monthly payments.” As of the date

                       11                of filing the Petition, the Debtor knew he would be entering the 2020-21 professional ice

                       12                hockey season a mere five (5) days later, and thus, under his Player’s Contract, but due to

                       13                receive approximately $3,000,000 in compensation for his services. This would come down

                       14                to approximately $250,000 a month over a twelve (12) month period. Moreover, the

                       15                evidence shows that the Debtor received $3,000,000 on July 1, 2020 [or within the six (6)

                       16                month period ending on the last day of the calendar month immediately preceding January

                       17                9, 2021] as part of the Debtor’s signing bonus under the Player’s Contract. Accordingly, the

                       18                Debtor’s true “current monthly income” pursuant to Bankruptcy Code §101(10A)(A) is

                       19                $500,000. See In re Katz, 451 B.R. 512 (Bankr. C.D. Cal. 2011) (a chapter 7 debtor’s

                       20                currently monthly income includes any bonuses or other compensation that may have been

                       21                earned at an earlier date so long as if it was received during the six-month current monthly

                       22                income period).

                       23          vi.   “Whether the debtor has engaged in eve-of-bankruptcy purchases”: The Debtor’s Schedules

                       24
                               8
                            Obviously, this number is fictitious as the Debtor admits he has received significant monthly
                       25 income since the 2020-21 hockey season started, and yet, the Debtor fails to update his Schedule I
                          to reflect the Debtor’s new monthly income, instead continuing to suggest that the Debtor will walk
                       26 away from his Player’s Contract altogether.

                       27      9
                           The Debtor’s proposed expenses includes the payment of other secured debts on properties the
                       28 Debtor does not occupy, as well as the payment of two excessive motor vehicle leases.
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   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                                Doc# 83                      12
                                                            Filed: 03/29/21 Entered: 03/29/21 17:43:18            Page 16 of
                                                                          19
                          1           show that less than thirty (30) days of initiating this Liquidation, and a mere four (4) days

                          2           preceding the Debtor’s payment of $5,000 to his current bankruptcy counsel, the Debtor

                          3           entered into a $750,000 lending relationship – the Loan Shark Debt – for the purpose of

                          4           investing in the Ascher II and Ascher III LLC investment. Additionally, the Debtor entered

                          5           into two (2) new leases requiring a combined monthly payment of $8,910.83 in late

                          6           November 2020 that the Debtor intends to assume. Moreover, just five (5) months before

                          7           initiating the Liquidation, four (4) months from engaging present counsel, and while under

                          8           the legal counsel of well-known bankruptcy practitioners, the Debtor purchased a residence

                          9           valued at approximately $3,000,000 obtaining separate financing in the amount of
                       10             $2,320,000 with the balance paid for by the Debtor. While not exactly the “eve of
                       11             bankruptcy,” it is highly suspect that the Debtor would purchase such an extravagant
                       12             residence requiring a mortgage payment well above amount allowed under the Means Test
                       13             at the same time that the Debtor was unable to service his Non-Residential Bank Debt in the
                       14             ordinary course. See In re Violanti, 397 B.R. at 859 (finding debtor’s purchase of her present
                       15             residence in the middle of 2007 along with her vehicle in March 2008, leading to her

                       16             bankruptcy filing in June 2008, as eve of bankruptcy purchases that are not viewed

                       17             favorably).

                       18      vii.   “Whether the debtor has a history of bankruptcy petition filings and case dismissals”:

                       19             Centennial has no knowledge of prior filings and case dismissals related to the Debtor.

                       20             However, the lack of this factor does not preclude dismissal of a case based on bad faith.

                       21 viii.       “Whether the debtor intended to invoke the automatic stay for improper purposes, such as

                       22             for the sole objective of defeating state court litigation”: Although the Debtor had been

                       23             involved in various state court litigation with multiple creditors for some time, the Debtor

                       24             did not initiate this Liquidation until Centennial filed the Centennial Federal Litigation. The

                       25             Debtor initiated this Liquidation a mere two (2) days after Centennial’s filing of the

                       26             Centennial Federal Lawsuit.

                       27      ix.    “Whether egregious behavior is present”: Egregious behavior is present in this Liquidation.

                       28             The Debtor made serious misrepresentations on his Schedules that he has not been able to
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                      Case: 21-50028
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                             Doc# 83                       13
                                                          Filed: 03/29/21 Entered: 03/29/21 17:43:18            Page 17 of
                                                                        19
                          1                explain or prove. Unless the Debtor can affirmatively prove otherwise, it appears the Debtor

                          2                has intentionally manipulated his Schedules in such a way so that the presumption of abuse

                          3                would not arise.

                          4                For all of the foregoing reasons stated above, this Court should conclude that the instant

                          5 Liquidation constitutes an abuse of the bankruptcy process and has been initiated in bad faith in

                          6 violation of 11 U.S.C. §§707(b)(2), (b)(3)(A), and (b)(3)(B), and accordingly dismiss this

                          7 Liquidation.

                          8                WHEREFORE, Centennial respectfully requests that order of this Court dismissing the

                          9 present Liquidation under 11 U.S.C. §§707(b)(1) and (3), and grant any such further relief as may
                       10 be appropriate.

                       11 DATED: March 29, 2021                              ANTHONY & PARTNERS, LLC

                       12

                       13
                                                                             By:          /s/John A. Anthony
                       14                                                          John A. Anthony
                                                                                   Attorneys for Creditor Centennial Bank
                       15

                       16

                       17 DATED: March 29, 2021                              COOPER, WHITE & COOPER LLP

                       18

                       19                                                    By:          /s/ Peter C. Califano
                                                                                   Peter C. Califano
                       20
                                                                                   Attorneys for Creditor Centennial Bank
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                      Case: 21-50028
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                                  Doc# 83                      14
                                                              Filed: 03/29/21 Entered: 03/29/21 17:43:18           Page 18 of
                                                                            19
                          1                                CERTIFICATE OF SERVICE

                          2                               In re EVANDER FRANK KANE
                                                                   21-50028-SJL
                          3
                               STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO
                          4
                                   At the time of service, I was over 18 years of age and not a party to this action. I am
                        5 employed in the County of San Francisco, State of California. My business address is 201
                          California Street, Seventeenth Floor, San Francisco, CA 94111-5002.
                        6
                                   On March 29, 2021, I served true copies of the following document(s) described as
                        7 CENTENNIAL BANK'S MOTION TO DISMISS LIQUIDATION on the interested parties in
                          this action as follows:
                        8
                                  BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
                        9 document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
                          who are registered CM/ECF users will be served by the CM/ECF system. Participants in the case
                       10 who are not registered CM/ECF users will be served by mail or by other means permitted by the
                          court rules.
                       11
                                  I declare under penalty of perjury under the laws of the United States of America that the
                       12 foregoing is true and correct and that I am employed in the office of a member of the bar of this
                          Court at whose direction the service was made.
                       13
                                  Executed on March 29, 2021, at San Francisco, California.
                       14

                       15

                       16                                                   Mercedes Stuefen
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                      Case: 21-50028
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
                                          Doc# 83                      15
                                                      Filed: 03/29/21 Entered: 03/29/21 17:43:18         Page 19 of
                                                                    19
